         Case 2:15-cr-00142-RFB          Document 50        Filed 09/29/15    Page 1 of 3




 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     REBECCA A LEVY
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     Rebecca_Levy@fd.org
 6
     Attorney for JOHN LAWRENCE LOPEZ
 7
 8                               UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                              Case No. 15-CR-142-RFB
11
                    Plaintiff,                              STIPULATION TO CONTINUE
12                                                          REVOCATION HEARING
            v.
13
     JOHN LAWRENCE LOPEZ,                                   (First Request)
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden,
17
     United States Attorney, and SUSAN CUSHMAN, Assistant United States Attorney, counsel
18
     for the United Stated of America, and Rene L. Valladares, Federal Public Defender, and
19
     REBECCA LEVY, Assistant Federal Public Defender, counsel for JOHN LAWRENCE
20
     LOPEZ, that the Revocation Hearing currently scheduled on October 1, 2015 at 10:30 a.m., be
21
     vacated and continued to October 21, 2015 at 10:30 a.m.
22
            This Stipulation is entered into for the following reasons:
23
            1.      Defendant is currently scheduled to be sentenced on October 21, 2015 and
24
     would like to address both matters on said date.
25
26
         Case 2:15-cr-00142-RFB           Document 50        Filed 09/29/15      Page 2 of 3




 1          2.     As an aside, counsel for the defense is set to start trial in the matter of United
 2   States vs. Anton Paul Drago, Case No. 13-cr-334-JCM on October 19, 2015 currently, but
 3   will update the Court if personal appearance on October 21, 2015 is not possible.
 4          3.     The defendant is not in custody and agrees with the need for the continuance.
 5          4.     The parties agree to the continuance.
 6          This is the first request for a continuance of the revocation hearing.
 7          DATED this 28th of September, 2015
 8
 9    RENE L. VALLADARES                              DANIEL G. BOGDEN
      Federal Public Defender                         United States Attorney
10
11
      By /s/Rebecca A. Levy                           By /s/ Susan Cushman
12    REBECCA A. LEVY                                 SUSAN CUSHMAN
      Assistant Federal Public Defender               Assistant United States Attorney
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                      2
         Case 2:15-cr-00142-RFB         Document 50       Filed 09/29/15     Page 3 of 3




 1
 2
 3
 4                              UNITED STATES DISTRICT COURT

 5                                    DISTRICT OF NEVADA

 6
     UNITED STATES OF AMERICA,                            Case No. 15-cr-142-RFB
 7
                   Plaintiff,                             ORDER
 8
            v.
 9
     JOHN LAWRENCE LOPEZ,
10
                   Defendant.
11
12
13          IT IS THEREFORE ORDERED that the revocation of pretrial release hearing

14   currently scheduled for October 1, 2015 at 10:30 a.m., be vacated and continued to
15   October 21, 2015 at the hour of 10:30
     ______________                  ____ ___.m.;
                                           a      or to a time and date convenient to the court.

16
17          DATED this 28th of September, 2015

18
19
                                                 RICHARD F. BOULWARE, II
20
                                                 UNITED STATES DISTRICTJUDGE
21
22
23
24
25
26
                                                    3
